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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
____________________________________
                                     )
IN RE: LION AIR FLIGHT JT            )
610 CRASH                            ) Lead Case No. 18 CV 7686
                                     ) Honorable Thomas M. Durkin
___________________________________ )

RESPONSE TO PLAINTIFFS’ MOTION TO ORDER THEIR FORMER COUNSEL TO
PRODUCE CLIENT FILES AND EVIDENCE OF EXRESS AUTHORITY TO SETTLE

       THOMAS GIRARDI and GIRARDI KEESE (the “Respondents”), by and through their

attorneys, MONICO & SPEVACK, submit this Response to Plaintiffs’ Motion to Order their

Former Counsel to Produce Client Files and Evidence of Express Authority to Settle. DKT No.

870. Respondents take no position regarding the Plaintiffs’ Motion. Instead, Respondents

respectfully ask this Court to defer ruling on Plaintiffs’ Motion until the anticipated appointment

of a Bankruptcy Trustee. In support, the Respondents state the following:

   1. On December 14, 2020, this Court entered a civil contempt judgment against the

       Respondents. The Court asked the parties to submit a proposed order as to the

       appointment of a Trustee and freezing assets. DKT Nos. 848, 849.

   2. On December 16, 2020, this Court was informed that several involuntary bankruptcy

       petitions were being prepared in the Central District of California and would likely be

       filed within 48 hours. Upon discussion, the parties suggested that a bankruptcy trustee in

       the Central District of California would be best suited to address the Respondents

       finances.

   3. On December 18, 2020, this Court entered an Order that, effectively, delayed any actions

       by the Respondents until a Trustee was appointed. See DKT No. 879.
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   4. On December 18, 2020 a Chapter 7 Involuntary Bankruptcy Petition was filed against

       THOMAS GIRARDI. See 20-bk-21020 (U.S. Bankruptcy Court Central District of

       California (Los Angeles) Bankruptcy Petition).

   5. On December 18, 2020, a Chapter 7 Involuntary Bankruptcy Petition was filed against

       GK. See 20-bk-21022 (U.S. Bankruptcy Court Central District of California (Los

       Angeles) Bankruptcy Petition).

   6. Due to the pending Bankruptcy petitions and likely appointment of a Bankruptcy Trustee

       in the Central District of California, Respondents respectfully request the Court delay this

       matter until the anticipated appointment of a Bankruptcy Trustee, who will make a

       decision as to how best to handle this matter.

   7. For the reasons stated above, Respondents respectfully ask this Court to defer

       adjudication of any future motions that may come before it, which pertain to property of

       the Respondent debtors’ estates, and require any moving parties to serve the anticipated

       Bankruptcy Trustee with any such motions.

       WHEREFORE, the Respondents respectfully ask this Court to delay this matter until

appointment of a Bankruptcy Trustee, who will be better suited to fully and accurately respond to

the Plaintiff’s Motion. Respondents also respectfully ask this Court to defer adjudication of any

future motions that may come before it, which pertain to property of the Respondent debtors’

estates, and require any moving parties to serve the anticipated Bankruptcy Trustee with any

such motions.

                                             Respectfully Submitted,
                                             Girardi Keese Law Firm


                                      By:    /s/ Michael D. Monico
                                             One of his attorneys
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